                                                                                       The motion is granted.




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  Nashville Division

 L.W., by and through her parents and next
 friends, Samantha Williams and Brian
 Williams, et al.,



                Plaintiffs,                         Civil No. 3:23-cv-00376

 and                                                Judge Richardson

 UNITED STATES OF AMERICA,                          Judge Newbern

                 Plaintiff-Intervenor

         v.

 JONATHAN SKRMETTI, in his official
 capacity as the Tennessee Attorney General
 and Reporter, et al.,



                Defendants.



PLAINTIFFS’ MOTION TO EXTEND TIME TO FILE AND EXCEED PAGE LIMIT IN
THEIR REPLY IN SUPPORT OF THEIR MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule 6.01, Plaintiffs

respectfully request a six-day extension of time to file their reply in support of their Motion for

Preliminary Injunction [ECF No. 21] (the “Preliminary Injunction Motion”). Plaintiffs also move

for leave to exceed five pages, for a total of ten pages, in their reply in support of the Preliminary

Injunction Motion. These requests are for good cause, and Plaintiffs state as follows in support of

the requests:

       Plaintiffs filed their Preliminary Injunction Motion and supporting memorandum on April

21, 2023, which were served on Defendants along with the Complaint on April 24, 2023 [ECF



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